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VIA CM/ECF

February 8, 2024 Douglas E. McCann
Principal

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The Honorable Richard G. Andrews 302 778 8437 direct

United States District Court

844 King Street

Wilmington, DE 19801
Re:  Exeltis USA, Inc., et al. v. Lupin Ltd., et al., C.A. No. 22-cv-434-RGA-SRF
Dear Judge Andrews:

We write to inform the Court that the parties have agreed to the following deadlines and single-
spaced page-limits for pretrial claim construction briefing:

Event Page Limit Deadline
Opening Pretrial Claim 8 Sunday, February 11, 2024
Construction Letter Briefs pages at 5 PM ET
Answering Pretrial Claim 5 Sunday, February 18, 2024
Construction Letter Briefs pages at 5 PM ET

We also wish to inform the Court that the revised trial schedule as discussed at the Pretrial
Conference, which will result in a fourth day of trial on Thursday, February 29, 2024, poses no
problem for Plaintiffs or Defendants.

Respectfully submitted,

/s/ Douglas E. McCann

Douglas E. McCann (#3852)

ce: All counsel of record (via ECF/Electronic Mail)

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